Case 1:04-cv-10981-PBS Document 65-8 Filed 03/25/05 Page 1 of 4

EXHIBIT D
Case 1:04-cv-10981-PBS Document 65-8 Filed 03/25/05

Page 2 of 4

450 LEXINGTON AVENUE

New YorRK, N.Y. 10017
212 480 4000
FAX 212 450 3800

JAMES FP. ROUNANDEN
21:2 450 4835
james.rounandeh @ dpw.com

January 11, 2005

1300 | STREET, N.W.
WASHINGTON, 8.C. 20005

1600 EL CAMINO REAL
MENLO PARK, CA 84025

a® GRESHAM STREET
LONDON EC2V 7NG

{$, AVENUE MATIGNON
75008 PARIS

MESSETURM
80308 FRANKFURT AM MAIN

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A CHATER ROAD
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Re: MDL-1629 -- In re Neurontin Marketing and Sales Practices Litigation

Mr, Michael J. Beck

Clerk of the Panel

Judicial Panel on Multidistrict Litigation
Thurgood Marshall Federal Building
One Columbus Circle, NE

Room G-255, North Lobby
Washington, D.C. 20002-8004

Dear Mr. Beck:

Pursuant to Panel Rule 7.2(i), Defendants Pfizer Inc, Warner-Lambert
Company, and Parke-Davis, a division of Warner-Lambert Company, hereby
notify and advise the Judicial Panel on Multidistrict Litigation (the “Panel”) that
the following actions, listed below, are potential tag-along actions in the above-~

captioned matter:

1) Assurant Health Inc., et. al. v. Pfizer Inc. et. al., No. 2:05-cy-00095-
JAP-MCA (removed to federal court on January 5, 2005), pending in the United
States District Court for the District of New Jersey before United States District

Judge Joel A. Pisano;

2) Sean McMinn v. Pfizer, Inc. et. al., No. 1:04-cv-02690-WYD, pending

in the United States District Court for the District of Colorado before

States District Judge Wiley Y. Daniel.

United

Under Panel Rule 1.1, the above actions contain common factual
allegations similar to those in the twenty-seven actions transferred by the Panel on

October 26, 2004 to the District Court of Massachusetts (MDL 1629).

Enclosed please find courtesy copies of the above-mentioned actions as

well as their docket sheets.

Case 1:04-cv-10981-PBS Document 65-8 Filed 03/25/05 Page 3 of 4

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Mr. Michael J. Beck 2 January 11, 2005

If you have any questions, please do not hesitate to call me.

Respectfully submitted,

J a P, Rouhandeh

COUNSEL FOR PFIZER INC, WARNER-
LAMBERT COMPANY, AND PARKE-
DAVIS, A DIVISION OF WARNER-
LAMBERT COMPANY

Enclosures

cc: Counsel for Plaintiffs of Above-Noted Potential Tag-Along Actions
(without enclosures; via U.S. Mail)

Case 1:04-cv-10981-PBS Document 65-8 Filed 03/25/05 Page 4 of 4

SERVICE LIST
In re Neurontin Marketing and Sales Practices Litigation
(MDL Docket No. 1629)

VS

David J. Novack
BUDD LARNER
150 JFK. Parkway
Short Hills, NJ 07078

Annamarie A. Daley

Mark Ireland

Sonya C. Seid]

ROBBINS, KAPLAN, MILLER & CIRESI L.L.P.
2800 LaSalle Plaza

800 LaSalle Avenue

Minneapolis, MN 55402-2015

W. Scott Simmer

Hardy Vieux

ROBBINS, KAPLAN, MILLER & CIRESI L.L.P.
1801 K. Street, N.W. Suite 1200

Washington, D.C. 20006

Attorneys for Plaintiff Assurant Health Ine, et al.

Chad P. Hemmat, Esq.

ANDERSON HEMMAT & LEVINE, LLC
1490 Lafayette Street, Suite 307

Denver, CO 80218

Attorney for Plaintiff Sean McMinn

